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              UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH
                     APPLICATION FOR PRO HAC VICE ADMISSION

                                     CONTACT INFORMATION

 Local Counsel:                   Milo Steven Marsden
 Firm:                            Dorsey & Whitney LLP
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                                  Salt Lake City, UT 84111

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 Pro Hac Vice Applicant:          Nimra Azmi
 Firm:                            Davis Wright Tremaine LLP
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 An applicant who intend to become a                       ☐ Admission by Bar Examination
 member of the Utah State Bar, please                      ☐ Admission by UBE Transfer
 identify the type of admission you seek:                  ☐ Motion/Reciprocal

                          STATE AND FEDERAL BAR MEMBERSHIPS

                   Jurisdiction                          Bar Number           Date of Admission
 New York                                            5466693                10/05/2016
 District of Columbia                                                       07/02/2019
 U.S. District Court District of D.C.                1614977                01/06/2020
 U.S. Court of Appeals 4th Circuit                                          10/09/2019
 U.S. District Court Southern District of New York   5466693                01/21/2019
 U.S. District Court Eastern District of New York    5466693                01/12/2022
 U.S. District Court Western District of New York                           02/05/2024
 U.S. District Court Eastern District of Michigan                           01/12/2022

 Have you ever been the subject of disciplinary action         ☐ Yes           ☒ No
 by any bar or court to which you have been admitted?

If yes, please explain:

                                                     1
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               LIST PRO HAC VICE ADMISSIONS TO THE DISTRICT OF UTAH
                              IN THE PREVIOUS 5 YEARS

                   Case Name                            Case Number          Date of Admission




If you have been admitted pro hac vice in 3 unrelated cases in this district in the previous 5
years, please explain your reason(s) for not seeking admission to the Utah State Bar:




 I certify that I am a member in good standing               ☒ Yes             ☐ No
 of all bars and courts to which I have been admitted.
 I certify that I have read and will comply with             ☒ Yes             ☐ No
 the Utah Rules of Professional Conduct and
 the Utah Standards of Professionalism and
 Civility.
 I certify that I am not a member of the Utah State          ☒ Yes             ☐ No
 Bar.
 I certify that I have listed all cases in which I have      ☒ Yes             ☐ No
 been admitted pro hac vice this district in the
 previous 5 years.
 I certify that I do not maintain a law office in Utah.      ☒ Yes             ☐ No

 I certify that the foregoing is true and correct            ☒ Yes             ☐ No
 and is subject to the penalty of perjury.

Under DUCivR 83-1.1(d)(2) you must register to efile to receive electronic notification of case
activity. Please visit the court’s Attorney Admissions webpage for instructions.


_______________________________                               5/20/2024
                                                             _____________________
Signature                                                    Date



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